          Case 5:21-cv-02214-JFL Document 86 Filed 01/12/22 Page 1 of 1




                       UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF PENNSYLVANIA
____________________________________

SIMBI KESIYI WABOTE,                :
      Plaintiff,                    :
                                    :
            v.                      :                       No. 5:21-cv-2214
                                    :
JACKSON UDE,                        :
      Defendant.                    :
____________________________________

                                           ORDER

       AND NOW, this 12th day of January, 2022, upon consideration of Plaintiff’s letter-briefs,
see ECF Nos. 81 and 84, Defendant’s response letter-brief, see ECF No. 85, and after a
telephone conference held on this date, 1 during which both parties’ presented argument, IT IS
HEREBY ORDERED THAT:
    1. Plaintiff’s request to quash Defendant’s subpoenas, ECF Nos. 81 and 84, is GRANTED.
    2. All subpoenas issued by Defendant after December 22, 2021 are null and void. 2


                                                    BY THE COURT:



                                                    /s/ Joseph F. Leeson, Jr.__________
                                                    JOSEPH F. LEESON, JR.
                                                    United States District Judge




1
        Attorney Michael D. Cilento, Esq. participated on behalf of Plaintiff, and attorneys
Benneth Onyema Amadi, Esq. and Obinna I. Abara, Esq. participated on behalf of Defendant.
2
        The Court voids these subpoenas because they were issued after the fact discovery
deadline. See ECF No. 59. Contrary to Defendant’s argument, the Court’s December 21, 2021
Order, ECF No. 74, granted Defendant an additional 30 days to depose Mr. Wabote only. Unless
specifically stated otherwise by this Court in a later order, the deadline for all fact discovery
expired on December 22, 2021. See id.
                                                  1
                                               011122
